Case 21-11653-amc             Doc 53     Filed 07/26/21 Entered 07/26/21 09:25:54                      Desc Main
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          NOTICE REGARDING TELEPHONIC CHAPTER 11 § 341 MEETINGS IN THE
                      EASTERN DISTRICT OF PENNSYLVANIA
                                           (Effective April 24, 2020)

On April 24, 2020, the United States Trustee for Regions 3 & 9 issued a notice continuing all in-person chapter 7,
12, and 13 section 341 meetings for cases filed through July 10, 2020. Further, all chapter 11 meetings will also be
conducted through telephonic or other alternative means.

Given the foregoing, this notice addresses the protocol for telephonic appearances for chapter 11 section 341
meetings only.

All debtor attorneys and debtors are encouraged to participate in section 341 meetings by telephone, or by such
remote means as the United States Trustee has established and noticed. Attorneys and debtors may call in from
separate locations. Creditors and creditor attorneys may appear remotely and should use the information provided
below or on the docket to participate.

All parties are encouraged to call the UST attorney assigned to the case or check the case docket for up-to-date
information about section 341 meetings of creditors.

Unless otherwise instructed, to participate in a telephonic section 341 meeting, you should use the Call-In Number
and Passcode assigned to the UST, which is listed below.

Please follow the instructions below to ensure a smooth telephonic section 341 meeting of creditors.

    •   You must use a touch-tone phone.
    •   If you have a choice, use a landline phone, instead of a cell phone.
    •   Dial the call-in number and then enter the passcode, which consists of 7 numbers and is followed by a #
        sign.
    •   Make the call from a quiet area where there is as little background noise as possible.
    •   When speaking, identify yourself.
    •   Do not put the phone on hold at any time after the call is connected.
    •   If you become disconnected before your meeting of creditors is finished, call back.

Debtor’s counsel must verify on the record that they have confirmed their client’s identity prior to the section 341
meeting of creditors, either via Facetime or Skype or other means.


The section 341 meeting of creditors will be recorded by the UST. Any other recordings are prohibited.

UST Call-In Number:    1-877-685-3103
Participant Code:   6249335#
